                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:09-cr-00026-MR-4


UNITED STATES OF AMERICA,       )
                                )
         vs.                    )                    ORDER
                                )
                                )
TRACY BERNARD GIBSON.           )
_______________________________ )

      THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing. United States v. Gibson, No. 10-5118

(4th Cir. Jan. 14, 2013).

      IT IS, THEREFORE, ORDERED that this matter is hereby scheduled

for resentencing on MARCH 20, 2013, at the United States Courthouse in

Asheville, North Carolina.

      IT IS FURTHER ORDERED that the United States Marshal shall

make arrangements to have the Defendant transported from his place of

incarceration to the hearing and shall return him thereto after resentencing.

The United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.



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     The Clerk of Court is directed to provide a copy of this Order to

counsel for the Defendant, counsel for the Government, the United States

Marshal, and the United States Probation Office.

     IT IS SO ORDERED.

                               Signed: February 11, 2013




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